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 September 1, 2017

 Honorable Ann M. Donnelly
 United States District Judge
 United States Courthouse for the Eastern District
 225 Cadman Plaza
 Brooklyn, NY 11201

                               Re: Sorenson v. Simpson
                               15 cv 4614 (AMD)

 Dear Judge Donnelly,

          This letter is in response to the letter of Sandra Simpson requesting that the Court
 reconsider its decisions dated August 7, 2017 and May 2, 2017 based on her recent discovery of
 the holding in Sorenson v. Winston & Strawn (Sup. Ct. NY 2015, Index no. 158124). Plaintiff
 respectfully urges the court to respond as it did on August 7, 2017 in response to Simpson’s
 request to file an interlocutory appeal and ask defendant to re-assert her argument in a summary
 judgment motion or at trial. Should the Court wish to address this now, plaintiff ask that he be
 given time to thoroughly brief the issues involved and respond accordingly.
          In short, however, I wish to point out that I brought the original decision of Justice Reed
 of Supreme Court NY to this court’s attention on June 30, 2016, Docket Number 28, well before
 this Court’s May 2, 2017 decision. (I did not convey Justice Reed’s one sentence decision on
 reargument, which upheld the earlier decision, and which was issued on May 3, 2017). The
 original decision by Justice Reed is now on appeal by the plaintiff to the Appellate Division,
 First Department and will be heard at the December term this year.
          Finally, I note res judicata and collateral estoppel simply do not apply in this case. The
 parties are not the same nor is the claim. In State Supreme Court, Mr. Sorenson sued Winston &
 Strawn not Ms. Simpson. Ms. Simpson was not joined in the case, nor was a claim made to the
 FCSC for any payment of part of her award. Instead, he sued Winston & Strawn for a share of
 the 10% legal fee they received as a result of the FCSC award on the grounds that he had done
 the majority of work on the case. Nor is Ms. Simpson in privity with Winston & Strawn. Had
 the judgment in the lower court been adverse to Winston & Strawn, Ms. Simpson would not have
 been bound to pay Sorenson a penny. It is hornbook law that privity involves two parties having
 the same right to property. In this case, Ms. Simpson had no interest in Winston & Strawn’s fee
 after it had been paid and thus cannot be in privity with the law firm.
          Supreme Court found that the retainer upon which Sorenson based his charging lien was
 void and dismissed the claim for unjust enrichment holding that Winston & Strawn did not
 “induce” Sorenson to work on the case or “rely” on his work product. Moreover, the finding of
 “unclean hands” was based upon the amended retainer which was not executed until well after
 all proceedings in federal court had been completed.
          In this case, where plaintiff is seeking fees generated by his work in Federal Court from
 Ms. Simpson, defendant unquestionably retained Sorenson and induced and relied upon his work
 to achieve the dismissal of Libya’s claims of non-justiciability. Having received all the benefit of
 this work she has clearly been unjustly enriched.
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         This case is all about fairness, the hallmark of unjust enrichment. Fairness clearly dictates
 that Sorenson is entitled to some recompense for his 12 years of successful advocacy on behalf
 of Ms. Simpson

                                                       Respectfully Submitted,


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                                                       Lorna B. Goodman
                                                       Attorney for the Plaintiff
 	
